                      Case 1:23-mj-00247-ZMF Document 1 Filed 09/07/23 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of Columbia
                  United St.at.es of America                        )
                               V.                                   )
                                                                    )      Case No.
                      Ruben Reyna
                                                                    )
                     DOB:-                                          )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant. in this case, state that the following is trne to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of __________ in the
                         in the Distiict of       Columbia      , the defendant(s) violated:
            Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(l) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
        Lawful Authority,
        18 U.S.C. § 1752(a)(2) - Knowingly, and with Intent to Impede or Disrnpt. the Orderly Conduct of
        Government Business,
        40 U.S.C. § 5104(e)(2)(D) - Utt.er Loud, Threatening, or Abusive Language, or Engage in Disorderly or
        Disrnptive Conduct,
        40 U.S.C. § 5104(e)(2)(G) - Par·ade, Demonstrate, or Picket in Any of the Capitol Buildings.
         This criminal complaint is based on these facts:
  See attached statement of facts.




         N Continued on the attached sheet.




Attested to by the applicant in accordance with the requirements of Fed. R. C1im. P. 4.1
by telephone.                                                                                              Zia M. Faruqui
                                                                                                           2023.09.07 14:33:02
Date:                                                                                                      -04'00'
                  08/28/2023
                                                                                                 Judge's signature

City and state:                         Washington, D.C.                          Zia M. Faruqui, U.S. Magistrate Judge
                                                                                               Printed name and title
